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EXHIBIT 3
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December 20, 2007

Ms. Lori McGroder

Shook, Hardy & Bacon

2555 Grand Boulevard

Kansas City, Missouri 64108-2613

Re: Neurontin Litigation-General Causation Report
Dear Ms. McGroder,

IL INTRODUCTION

You have asked me to provide an opinion regarding the issue of general ‘causation in
terms of whether reliable scientific and medical evidence establishes Neurontin causes
suicidality (i¢., suicide or suicide attempt). My opinion is based upon my education,
training, and experience, a review of the materials in Attachment A, a review of relevant
literature, and my work in the field of suicidology; including my work as editor of The
Harvard Medical School Guide to Suicide Assessment and Intervention (1999) and as
chairperson of the Work Group For The American Psychiatric Association Practice
Guidelines for the Assessment and Treatment of Patients With Suicidal Behavior. A
copy of my Curriculum Vitae is attached and is incorporated herein by reference. I
 Teserve the right to supplement my opinions based on review of additional materials

including the reports and testimony and materials considered by other designated experts.

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All opinions in my report are expressed to a reasonable degree of scientific and medical

certainty.
I. SUMMARY OF OPINIONS

° Tt is not generally accepted in the scientific or medical community that Neurontin

is associated with, or that it can cause or contribute to, suicidality.

° There are no peer reviewed published studies concluding that Neurontin is

associated with or can cause or contribute to suicidality.

° Controlled, open label and epidemiology studies are generally accepted as
scientifically reliable and necessary to determine whether a drug is associated
with an event. The data from controlled, open label and epidemiology studies for
Neurontin does not establish that Neurontin is associated with, let alone causes,
suicidality. In fact, these data are consistently supportive of the conclusion that
Neurontin is neither associated with nor causes suicidality.

® Analysis of spontaneous reports indicates that the number of observed cases of
suicides are below the expected nuinber of cases in the populations taking
Neurontin. Although these data cannot be used to determine causation,

nevertheless they do not support plaintiffs' claim that Neurontin causes suicide.

° The absence of an association between Neurontin and suicide is scientifically
meaningful. It indicates that there is no reliable scientific evidence to conclude —
that Neurontin is associated with, let alone causes, suicide. Analysis of the
criteria used to evaluate whether an association is "causal" also does not support a
conclusion that Neurontin causes suicide. I have examined ten representative
cases! and the suicide behavior in each and every case can be fully explained by
recognized suicide risk factors without regard to Neurontin. In other words,
alternative explanations and confounders account for the suicide or suicide

attempt in each and every case.

 

1 The cases I reviewed were the original ten cases selected as Track One cases. My understanding

. is that this group of ten cases was comprised of six random selections, two selected by plaintiffs
and two selected by Pfizer. I further understand that three of these cases (Strickland, Mendoza,
and Moore) are no longer considered Track One cases.

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° The available reliable scientific and medical evidence fails to establish that

Neurontin is associated with, or causes or contributes to cause suicidality.

° The label for Neurontin adequately apprises physicians of the risks and benefits of
Neurontin.

I. QUALIFICATIONS

Tam an Associate Clinical Professor of Psychiatry at Harvard Medical School. I
maintain an active clinical psychiatric practice in Wellesley and Newton, Massachusetts, -
suburbs of Boston. I have edited three books and numerous papers on suicide. I edited .
the textbook, the Harvard Medical School Guide to Suicide Assessment and Intervention, ;
was published in 1999. I have organized and have led academic seminars, locally for
Harvard faculty and nationally for other mental health professionals, on the subject of |
suicide and related psychiatric subjects (e.g., depression). I currently teach Harvard :
medical students, who are pursing careers in nonpsychiatric disciplines. In addition, I
established a unique non-profit organization, Screening for Mental Health, Inc. (SMH),
which is devoted to screening for, and providing education about, a variety of mental
health disorders, including depression. The programs of SMH are offered to a variety of -

healthcare clinicians, mental health professionals, and primary care clinicians.

Ireceived my undergraduate degree from Trinity College in Hartford, Connecticut, in
1967. I received my medical degree from the University Of Pennsylvania School Of
Medicine in 1971. Next, I completed a three-year residency (1972-75) in adult

psychiatry at the Massachusetts Mental Health Center, a Harvard Medical School

teaching program. I was board certified by the American Board of Psychiatry and
Neurology in 1977, Between 1978 and 1992 I served by invitation as an examiner for the -
Board, participating in the examinations of physicians who were seeking board
certification in psychiatry.

As part of my clinical practice, I am on the staff of several psychiatric hospitals in the
greater Boston area, including McLean Hospital in Belmont, Massachusetts. I have been
a member of the Harvard Medical School faculty since 1975. I am a member of several

professional organizations, including the American Psychiatric Association, the
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American Association of Suicidology, and the American Academy of Psychiatry and the

Law.

I have more than 30 years experience evaluating, treating and consulting on suicidal
patients. Between 1975 and 1983, I served as Director of Psychiatric Emergency
Services at The Cambridge Hospital, where I was responsible for evaluating and
supervising 3,000 psychiatric emergencies per year. In this patient group, there was
approximately one suicide attempt per day. In my hospital experience and private
practice since 1975, I have developed expertise in examining, understanding, and treating

a diverse range of suicidal patients.

I was the founder of the Harvard Medical School Suicide Symposium in 1981, and:
directed that symposium for seven years. This symposium remains Harvard Medical |
School’s Department of Continuing Education only postgraduate symposium specifically |
on the subject of suicide. In 2005, I was the keynote speaker on the subject of

Adolescent Suicide.

I am the founder of National Depression Screening Day (NDSD) and its sister mental
health screening programs, which are endorsed by the American Psychiatric Association.
National Depression Screening Day is held each October during Mental Iliness
Awareness Week, which was established by the U.S. Congress. Since 1991, numerous
hospitals, health centers, libraries, schools, primary care offices, and other practitioners
have provided free depression screenings across the country on the designated day. As
one of the programs of the non-profit Screening for Mental Health organization, this
screening program is funded by federal and state government agencies, corporations,
foundations, as well as by registration fees from our participating healthcare facilities and
organizations. When I initiated the program fifteen years ago, it was the first time that
the concept of large-scale mental health screening had been attempted. The program has
been recognized by mental health professionals, the media, mental health advocacy
groups and the federal government for its success in reaching people with depression and

other disorders who can benefit from treatment, but who had not sought it in the past.

 
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In terms of the primary care program, relevant professional organizations that serve as
sponsors to this program are: the American Chronic Pain Association, the American

College of Physicians, and the American Medical Association.

I was appointed by the American Psychiatric Association as Chairperson of the
Workgroup to develop practice guidelines for the assessment and treatment of the patient
with suicidal behaviors. The guidelines were published in 2003 and 2004.

In terms of awards, I received the Massachusetts Psychiatric Society Outstanding
Psychiatrist Award in 2004 for advancement of the profession. In 2007, I received a
commendation from the Massachusetts House of Representatives for my work on

National Depression Screening Day.

I have been asked by clinicians, hospitals, and school systems to consult when there isa
suicidal crisis or in the aftermath of a suicide. The American Psychiatric Association
regularly refers media representatives who request information about suicide and other

mental health topics to me for comment and analysis.

In the area of legal matiers involving psychiairic disorders, suicide, or murder, I have
been qualified by a number of courts as an expert in the specialty of psychiatry,
specifically in the field of suicide and the medical treatment of psychiatric disorders and
symptoms. I have testified in both civil and criminal court proceedings and have
reviewed cases on behalf of both plaintiffs and defendants. I have also testified before
Congress and the FDA on the subject of suicide, principles of causation, and the
relationship to pharmaceuticals.

In terms of fees, I charge $500.00 per hour for record review, etc.

IV. BACKGROUND OF SUICIDE

“Suicide represents a major national and international public health problem with over
30,000 suicide deaths in the United States and 1 million deaths worldwide each year and
every year. The estimated cost to this nation in lost income alone is 11.8 billion dollars |
per year.” (Reference 1). Suicide is the 1 1" jeading cause of death within the general
population (Reference 2) and representing approximately 1.4% of all deaths on an annual

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basis (Reference 3). Internationally, there are 1 million suicide deaths every year.
(Reference 3).

Suicide is a multi-factorial event with a variety of conditions and stressors contributing to
increased risk.” The majority of persons who commit suicide have known risk factors
for suicide. (Reference 4). Recognized risk factors for adult suicide include having
psychiatric and medical conditions which make every day life more difficult (e.g.
affective illness, alcohol / substance use, Cluster B personality disorders, functional
impairment, chronic pain, epilepsy), being male (with the exception of people with
bipolar disorder), and having a lack of social supports / resources (spouse / close family,
valued friends, supportive community, rewarding work, financial security). (Reference
5). In general, the more risk factors an individual has, the higher their risk of suicide.
Moreover, certain risk factors can act in a synergistic fashion that increases the risk
beyond simply adding the factors. “For example, the combined risk associated with
comorbid depression and physical illness may be greater than the sum of the risk
associated with each in-isolation.” (Reference 6). Risk factors include: psychiatric
illness, substance abuse, physical illness-including pain and functional limitations, life
stressors, prior suicidal behavior, and access to weapons. Certain psychiatric illnesses are
associated with an increased risk for suicide, such as bipolar disorder which can have an
increased risk of suicide ranging from 30 to 60 times the general population with an
annual prevalence approximating 0.9%. (Reference 7). Certain physical illnesses, such
as epilepsy, have an increased risk of suicide ranging from 3.5-7 times the general
population. (References 8, 9, 10). Pain syndromes have been identified as having an
increased risk for suicide varying from 2 to 5 times. Persons with functional limitations

due to physical illness are known to increase the risk of suicide. (Reference 11).

Nearly 50% of psychiatrists will experience a suicide in their practice at some point in
their career (Reference 6) and five percent of all suicides in the United States occur

within hospital settings, accounting for nearly 1,500 suicides each. (Reference 12).

 

2 It is impossible to predict suicide as no specific risk factor has found to be predictive. For
example, of the estimated 10 million people who experience suicidal ideation each year, only

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Approximately 75% of persons that die by suicide have seen a physician within six
months; while 60% have visited a physician within 30 days of their suicide. These
findings suggest that suicidal individuals appreciate the issues troubling them and make
an effort to see a clinician, but do not or cannot communicate their suicidal thoughts.
(Reference 3). It is also believed that approximately 25-30% of persons who die by
suicide are receiving psychiatric treatment at the time of their death. (Reference 6).

In fact, it is known that 50 — 75% of persons receive their mental health care through
primary care physicians. Primary care physicians are thereby, in a unique position to
learn about both a person’s medical condition and psychosocial stressors. ;

Neurontin’s Use in Persons at Risk for Suicide and Depression 5
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It is important to acknowledge that Neurontin is prescribed to several of the previously
discussed populations with a background rate of suicide much higher than the incidence
of suicide in the general population. The categories of patients for which Neurontin is
used clinically ranges from patients with psychiatric disorders, (bipolar, anxiety
disorders), pain syndromes (ranging from patients with musculoskeletal disorders, cancer,
migraines), and epilepsy. As stated above, each of these populations has a risk of suicide ,
that ranges from several times to many times the risk in the general population.
Therefore, it would be expected that the rate of suicide behavior in patients being

prescribed Neurontin would be greater than the rate in the general population. In terms of

depression, it is known that persons with epilepsy and pain syndromes are at increased

risk for developing depression. (References 13, 14). Specific risk factors for suicidality

in chronic pain populations have been identified as the intensity and duration of the pain,

insomnia, helplessness, and desire for escape from pain. Many of these factors apply to

the cases reviewed. For example, in the Smith case, one of the ten index cases, Mr.

Smith had a twenty-year history of chronic pain with multiple operations, joint

replacement surgeries, and a progressive deterioration of his whole body. In fact, his

suicide note stated, “Pain has taken over my mind and body. I need back surgery left and

right rotator cuffs right bicep torn back surgery to correct pain in legs. Forgive me; I

 

30,000 (0.3%) commit suicide.
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cannot go on like this! I cannot have my body, the temple of the Holy Spirit cut on
anymore. I have talked to God and he understands.”

Because individuals who are prescribed Neurontin are at a higher-than-average risk for
suicide, if plaintiffs’ theory had any validity, it would be expected that the rate of suicide
in patients being prescribed Neurontin would exceed the rate expected in epilepsy,
psychiatric, and chronic pain populations. With an “at risk” population, however, the
observed number of cases among Neurontin users, however, is far.below the expected

number of cases as described below.

While spontaneous adverse event réports (the post-marketing experience with the drug)
cannot be used to prove causation, one would expect that if Neurontin caused suicide,
there would be an increased number of suicides above what would be expected in the
population of Neurontin users. As discussed, the population of Neurontin users is
comprised of epileptics, people in chronic pain and people with psychiatric illnesses.
Accordingly, a certain number of suicides is to be expected in this population. It turns
out that the number of suicides reported as adverse events for Neurontin is far below
what one would expect in the population of Neurontin users. For example, in December
"2005, Pfizer submitted to the European Union’s EMEA a postmarketing report regarding
spontaneous Teports of suicide and suicide attempts. The report, prepared by Jeffrey
Mohan, Pharm D., consisted of a review of Gabapentin clinical study and solicited cases
of completed suicide and suicide attempts, and a review of non-clinical study Gabapentin
cases of completed suicide and suicide attempts reported to Pfizer as of July 31, 2005. In
terms of completed suicide, 111 cases were identified, 37 of which contained insufficient
information for a proper assessment. However, for purposes of this report, I will base all
determinations on the 111 cases. The Mohan report is based upon worldwide sales
volume and an estimated daily regimen of three units daily. Neurontin was first marketed
in 1993, and there were over 13,788,613 patient years of exposure of Gabapentin through
2004. The expected number of cases of completed suicide and suicide attempts in the
population of people taking Neurontin can be estimated from the nearly 14 million
patient- years of exposure.
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might cause suicide. Given the opinions of these noted experts, and the absence of any
scientific publications stating that Neurontin has a mechanism of action that causes
suicide, it can hardly be said that this factor would support a conclusion that Neurontin

causes suicide.

Consideration of alternative explanations (confounding factors)

Where exposure toa hypothesized causal factor or agent appears to be associated with
increased incidence of an outcome, investigators should consider other explanations for
the relationship in question and determine whether one or more of those alternate
explanations may account for the adverse event. In determining causation in the context
of suicide, itis my opinion as a suicidologist who specializes in this precise area, that the
consideration of alternative explanations, that is, the presence of multiple suicide risk

factors and other confounding factors, is the critical element in considering causation.

While plaintiffs’ experts acknowledge that people taking Neurontin have underlying
conditions that increase the risk of suicide, none of them specifically address the
underlying conditions or the suicide risk factors that generally accompany suicidal
behavior. In clinical practice, this is absolutely necessary. My opinion is that no
judgment about general causation can be made without “considering the possibility of
bias and confounding” and ruling out underlying risk factors as the cause for suicide.
(Reference 16).

The scientific community widely recognizes a variety of risk factors for suicide,
including: prior suicidal behavior; evidence of hopelessness; advanced age; family
history of suicide or mental illness; evidence of impulsiveness, panic attacks, or anxiety;
presence of psychiatric illness, with particular attention to mood disorders, schizophrenia,
substance use disorders, anxiety disorders, and personality disorders; medical conditions
including nervous system disorders and chronic pain; and psychosocial stressors or
“trigger events,” such as real or perceived interpersonal losses, financial difficulties,
changes in socioeconomic status, family discord, domestic violence, and past or current

sexual or physical abuse or neglect.

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I have reviewed in depth ten representative cases in the Neurontin litigation. There were
seven suicides and three suicide attempts. The principle of alternative explanation
explains the suicide events that have occurred in every case. In other words, in each of
the ten representative cases, there are multiple risk factors for suicide and, in each case; it
is my opinion that the suicide events can be entirely explained without regard to

- Neurontin. In other words, in every case, had the individual not been taking Neurontin,
the suicide can be entirely explained by the presence of independent, established risk
factors. For each case I reviewed, the suicide risk factors that, in my opinion, to a
reasonable degree of medical certainty, explain these individuals’ suicide behaviors are

listed:

Bentley: _—~Prior to his suicide, Mr. Bentley had a long-standing history of alcoholism.
He suffered from underlying depression and was diagnosed with chronic anxiety,
characterized by “high anxiety attacks.” Mr. Bentley exhibited suicidality on at least one
occasion prior to using Neurontin. There is a history of molestation when Mr. Bentley
was achild. Mr. Bentley’s suicide was preceded by a series of financial, marital, and

work-related stressors, culminating in him hanging himself at his work.

Fenelon/Moore: According to the medical records, in 1995, prior to using
Neurontin, Ms. Moore attempted suicide. Ms. Moore suffered from alcoholism and
chronic depression and fatigue. There was a family history of mental illness (sister
diagnosed with schizoaffective disorder, brother with history of alcoholism). In addition,
she suffered from chronic pain (her medical records note that decedent suffered from

“excruciating pain, cannot sleep, pain wakes her up”) and chronic hepatitis.

McGee: Ms. McGee suffered from a combination of joint pain and fibromyalgia.
Her medical records prior to her suicide indicate that she suffered from persistent pain
and discomfort. Prior to her suicide, Ms. McGee also suffered from a variety of
psychosocial stressors, including financial problems. In her suicide note, Ms. McGee

blamed the suicide on these financial stressors.

Mendoza: _ To the extent that Mr. Mendoza actually attempted suicide (which is not

clear from the records); his suicide attempt is explained by a long list of factors. Mr.

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Mendoza attempted suicide several times (e.g., at least two times) prior to using
Neurontin. He suffered a severe head trauma prior to using Neurontin. Mr. Mendoza
was diagnosed as bipolar and suffered from chronic depression. In addition, he is a poly-
substance abuser (marijuana and crack cocaine). Mr. Mendoza had severe psychosocial
stressors, including several domestic violence incidents, homelessness, and incarceration
for assault. The “trigger event” for his alleged suicide attempt was his desire to find
living arrangements (in-patient care at the hospital) after he was kicked out of his group

. home and found himself homeless.

Owens: Mr. Owens had a complex medical history. He fell and slipped at work in
1994 and injured his hand and wrist. He developed chronic pain which limited his ability
to work and/or enjoy life activities. Mr. Owens underwent two surgeries to help with his
chronic pain. He also had long-standing depression and made suicidal statements to
family members suggesting that if he could not find work, he would kill himself.

Pursey: Mr. Pursey had a long psychiatric history dating back to 1976, when he
was involved in an accident which resulted in a coma. Subsequently, he developed
agoraphobia and panic. He was psychiatrically hospitalized in 1980 with symptoms of
acute depression. Mr. Pursey was ultimately diagnosed as bipolar. Mr. Pursey had a j
long history of intermittent suicidal ideation prior to using Neurontin. Mr. Pursey’s
' suicide was triggered more acutely by marital dysfunction and financial stressors.

Roberson: Mr. Roberson had a long history of treatment-resistant depression and
chronic pain. He also had a 40-year history of alcoholism and had gone through a
detoxification program approximately 18 months before his suicide. Several weeks
before his suicide, he resumed drinking, which led to a confrontation with his wife who
threatened—for the first time in their long marriage—to leave him, as well as arguments
With his son and daughter. Mr. Roberson left a suicide note in which he apologized for
not being able to stop drinking and stated that he was no good to his wife. Roberson’s
suicide is explained by his decision to resume drinking and the marital and familial —_

conflict this decision caused, coupled with his pre-existing depression and chronic pain.

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Smith: Mr. Smith’s suicide is explained by his severe chronic pain. In his suicide note,
he himself attributed his suicide to his chronic, severe pain. His pain led to and
culminated in severe hopelessness, following his physicians telling him that he was not a

candidate for any further surgery to relieve his pain.

Strickland: To the extent Mr. Strickland actually attempted suicide, it is explained by
___ his history of mental illness (paranoid schizophrenia), poly-substance abuse, and chronic’
- pain. Mr. Strickland also had a variety of psychosocial stressors which explain any
suicidality, including an extensive criminal history and unresolved grief regarding the

murder of his son.

Vercillo: Mr. Vercillo is a 34-year-old single white male with a long history of
substance abuse (LSD, ecstasy, and “mushrooms”), anxiety symptoms, and depressive
symptoms. He is characterized as impulsive, demanding, and oppositional. Mr. Vercillo
has a long history of legal difficulties, including assault and domestic violence charges.
In addition, there were multiple psychosocial stressors preceding the suicide attempt,
including the inability to hold steady employment, living at home with parents, social

isolation and lack of self esteem.

To summarize, in the context of analyzing whether a drug such as Neurontin can cause
suicide behavior, it is proper and necessary to consider “alternate explanations.” There is
compelling evidence of suicide risk factors in every case that fully explains the suicide
behavior. The suicide risk factors present include psychiatric illness, co-morbid
depression, anxiety, panic, alcohol abuse, treatment resistant depression, polysubstance
abuse, psychotic illness, and significant physical illness in the form of chronic pain and
functional limitations, and compounded psychosocial stressors. Based on these facts, any
causal inference related to Neurontin is scientifically and medically implausible.

Cessation of Exposure

Like many of the others, this factor requirés evidence of an association to assess whether

cessation of the exposure decreases the risk. Plaintiffs’ experts do not cite to any clinical,

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epidemiologic or human experimental data that suggests that once Neurontin ingestion is

stopped, the risk of suicide decreases, this factor does not apply.

Consistency with other knowledge

Suicide rates have decreased from 1993 until 2004, at a time when Neurontin sales were
generally rising. Spontaneous reports demonstrate that the number of observed cases is
lower than expected in the patient population taking Neurontin. These facts do not.

support the proposition that Neurontin is causally associated with suicide.

VII. CONCLUSION

To summarize, suicide is a multi-factoral event. Individuals who commit suicide are

known to have a combination of medical and psychiatric disorders. Neurontin is

prescribed to persons who have a combination of these risk factors, including epilepsy,
chronic pain, and/or psychiatric illness. It would not be unexpected or unusual therefore
that patients who are prescribed Neurontin commit suicide. But when compared to the

incidence of suicide in these populations, in both controlled studies and adverse event

data, incidence and reported rate of suicide for Neurontin is lower. Importantly, there is

 

overwhelming support from the human experimental evidence, published literature, and
application of generally accepted principles of causation that Neurontin is not associated
with an increased risk of suicide. It is my opinion, to a reasonable degree of medical and :
scientific certainty, that there is no reliable scientific evidence that Neurontin is

associated with or causes suicide. j

Sincerely,

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Douglas G. Jacobs, M.D.

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